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                               Exhibit 64



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                             Page 394
                     UNITED STATES DISTRICT COURT

                      DISTRICT OF MASSACHUSETTS

     -----------------------------x

     IN RE PHARMACEUTICAL INDUSTRY)

     AVERAGE WHOLESALE PRICE        )

     LITIGATION                     )

     _____________________________)

     THIS DOCUMENT RELATES TO       ) MDL No. 1456

     State of California, ex rel. ) Civil Action:

     Ven-A-Care v. Abbott           ) 01-12258-PBS

     Laboratories, Inc., et al.     )

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                                        VOL. II

                                --oOo--

                      MONDAY, SEPTEMBER 22, 2008

                                --oOo--

                       VIDEOTAPED DEPOSITION OF

                      J. KEVIN GOROSPE, Pharm.D.

                                --oOo--



     Reported By:   CAROL NYGARD DROBNY, CSR No. 4018

                    Registered Merit Reporter




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                                                                             Page 446
  1
               A.      Yes.
  2
               Q.      And I believe the report is dated in
  3
        2003.
  4
                       Would it have been consistent with your
  5
        understanding back in 2003?
  6
               A.      Yes.
  7
               Q.      Would you have understood that -- those
  8
        differences in the MAIC programs prior to 2003?
  9
                       MR. PAUL:       Objection to form.
 10
                       THE WITNESS:         Possibly.
 11
        BY MR. BENNETT:
 12
               Q.      Do you -- can you ballpark the time
 13
        frame in which you might have learned when the MAIC
 14
        pricing programs were different?
 15
                       MR. PAUL:       Objection to form.
 16
                       THE WITNESS:         Late nineties.
 17
        BY MR. BENNETT:
 18
               Q.      Did you ever undertake to bring
 19
        California's MAIC program up to a more -- to a
 20
        similar level in the managed care setting?
 21
                       MR. PAUL:       Objection to form.
 22
                       THE WITNESS:         Yes.

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                                                                             Page 447
  1
        BY MR. BENNETT:
  2
               Q.      And when did you undertake to do that?
  3
               A.      The Department made a recommendation to
  4
        the administration which carried a -- a budget
  5
        proposal forward in -- I believe it was -- I can't
  6
        remember the date, if it was 2002 or 2004 now -- to
  7
        change how MAIC pricing was set.
  8
               Q.      And what was the proposed change?
  9
               A.      The proposed change was to set MAIC
 10
        pricing on a Wholesale Sales Price.
 11
               Q.      And was that -- was that change
 12
        implemented?
 13
               A.      No.
 14
               Q.      Why not?
 15
                       Or what happened with that proposal?
 16
               A.      The Wholesale Sales Price was intended
 17
        to be a surveyed price with -- through wholesalers
 18
        that the State would accomplish.
 19
                       During implementation the U.S. Congress
 20
        put forward a proposal to limit reimbursement for
 21
        all drugs based on Average Manufacturer's Price,
 22
        and subsequently -- it was pursuant to, I think,

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                                                                             Page 448
  1
        the introduction of the 2005 Deficit Reduction Act.
  2
                       Because of that proposal work was stopped
  3
        on the Wholesale Sales Price.
  4
               Q.      You referred to the U.S. Congress
  5
        implementing a change in reimbursement based on
  6
        Average Manufacturer's Price; is that correct?
  7
               A.      Yes.
  8
               Q.      And was -- is that a reference to a
  9
        change in how the Federal Upper Limit, FUL, or I
 10
        believe in California it's sometimes referred to as
 11
        FAC, Federal Allowable Cost -- is that what was
 12
        being changed by the U.S. Congress?
 13
               A.      No.
 14
               Q.      So what was U.S. Congress seeking to --
 15
        to change in 2005?
 16
               A.      In the earliest versions of the 2005
 17
        Deficit Reduction Act they actually had provisions
 18
        in there that would limit reimbursement for all
 19
        drugs.
 20
                       Single source drugs and innovator
 21
        multiple source drugs would have been capped at an
 22
        Average Manufacture Price, plus a certain

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                                                                             Page 449
  1
        percentage, and multiple source drugs would have
  2
        been capped at another -- a different percentage
  3
        increase.
  4
               Q.      And because of that work going on in
  5
        U.S. Congress the efforts to implement the
  6
        wholesale selling price MAIC Program were stopped?
  7
               A.      Yes.
  8
               Q.      So wholesale selling prices were never
  9
        implemented by Medi-Cal?
 10
               A.      No, they were not.
 11
               Q.      How about with respect to the number of
 12
        drugs that were -- that a MAIC applied to?
 13
                       Did you have an understanding of the
 14
        percentage of multi-source drugs within the
 15
        Medi-Cal program as to which a MAIC applied?
 16
               A.      I don't know that number.
 17
               Q.      Can you -- something less than a hundred
 18
        percent of all multi-source drugs?
 19
               A.      Yes, less than a hundred percent.
 20
               Q.      Would you say less than 50 percent?
 21
               A.      I don't know that.
 22
               Q.      Don't know that.

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                                                                             Page 519
  1
        getting these types of operational instructional
  2
        letters over to the fiscal intermediary.
  3
               Q.      And what department would be responsible
  4
        for that?
  5
                       What department would Loy have worked in?
  6
               A.      It would have been the Department of
  7
        Health Services under the -- in your previous
  8
        structure, the Payments Systems Division -- at the
  9
        time.
 10
               Q.      And from your note you said "Here is the
 11
        copy signed off by Len."
 12
                       Is it correct that that's a reference to
 13
        Len Terra?
 14
               A.      Yes, it is.
 15
               Q.      And is it -- is it correct that you were
 16
        involved in the -- in the decision not to implement
 17
        the Medicaid AWP prices?
 18
               A.      Not necessarily.
 19
               Q.      Were you involved in the -- in that --
 20
        in the decision-making process?
 21
               A.      Yes.
 22
               Q.      Do you have an understanding for the

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                                                                             Page 520
  1
        basic reason why the Department didn't implement
  2
        Medicaid AWPs?
  3
               A.      Yes.
  4
               Q.      Can you describe some of those reasons?
  5
               A.      My recollection is that the -- the
  6
        Department decided not to implement the AWPs at the
  7
        time because it was concerned that the
  8
        reimbursement would not change -- in other words,
  9
        the AWPs would not change over time as prices
 10
        increased.
 11
                       Also, that there was a potential that if
 12
        they -- the prices were lower than acquisition
 13
        costs to the pharmacies, that the pharmacies
 14
        wouldn't want to dispense the products.
 15
               Q.      So you would agree that one of the
 16
        concerns was access to -- access to care for
 17
        beneficiaries?
 18
                       MR. PAUL:       Objection to form.
 19
                       THE WITNESS:         Yes.
 20
        BY MR. BENNETT:
 21
               Q.      And -- and even after deciding not to
 22
        implement the Medicaid AWPs the information the

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                                                                             Page 707
  1
               Q.      And are they all still in effect?
  2
               A.      No.
  3
               Q.      Are manufacturers required to report AMP
  4
        to California as part of entering in to a
  5
        supplemental rebate contract?
  6
               A.      Sometimes.
  7
               Q.      Is it fair to say that absent a contract
  8
        with a manufacturer for some of its drugs for
  9
        supplemental rebates that California will not
 10
        receive AMP from that manufacturer?
 11
               A.      I'm sorry.
 12
                       Could you restate that.
 13
               Q.      Absent a contract for -- a contract for
 14
        supplemental rebates does California receive AMPs
 15
        from a manufacturer?
 16
               A.      Not that I know of.
 17
               Q.      So the only time California receives
 18
        AMPs from a manufacturer is when there's a
 19
        supplemental rebate contract in place?
 20
                       MR. BENNETT:         Object to form.
 21
                       THE WITNESS:         Yes.
 22
        BY MR. PAUL:

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